          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 1 of 38



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

COMPUTER & COMMUNICATIONS                            §
INDUSTRY ASSOCIATION and                             §
NETCHOICE, LLC,                                      §
                                                     §
                Plaintiffs,                          §
                                                     §
v.                                                   §                    1:24-CV-849-RP
                                                     §
KEN PAXTON, in his official capacity as Attorney     §
General of Texas,                                    §
                                                     §
                Defendant.                           §

                                                ORDER

        Before the Court is Plaintiffs Computer & Communications Industry Association (“CCIA”)

and NetChoice, LLC’s (“NetChoice”) (collectively, “Plaintiffs”) Motion for a Preliminary Injunction.

(Dkt. 6). Defendant Ken Paxton, in his official capacity as Attorney General of Texas, (“Paxton”)

filed a response, (Dkt. 18), and Plaintiffs filed a reply, (Dkt. 24). Having considered the record, the

parties’ briefing, and the relevant law, the Court will grant in part and deny in part the motion for a

preliminary injunction.

                                          I. BACKGROUND

        This case concerns Texas House Bill 18 (“HB 18” or “the Act”), a law that regulates social

media websites. Tex. Bus. & Com. Code §§ 509.001, et seq.1 The Court will begin by describing the

parties, then HB 18, and then the procedural posture of the case.

                                            A. The Parties

        Plaintiff CCIA is a nonprofit organization that “promote[s] open markets, open systems, and

open networks.” (Compl., Dkt. 1, at 4). Its members include major technology and social media



1 All cites are to HB 18, rather than to the Texas Business and Commerce Code.


                                                    1
           Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 2 of 38



companies such as Google (including YouTube), Meta (including Facebook, Instagram, and

Threads), and X (formerly Twitter). (Id. at 4). Plaintiff NetChoice is a nonprofit trade association

that comprises these members as well as the companies that own Nextdoor, Snapchat, and Pinterest.

(Id.).

         Paxton is the sole Defendant in this suit. He is the Attorney General of Texas, sued in his

official capacity. (Id. at 5). Paxton and the Consumer Protection Division of the Attorney General’s

Office have enforcement authority under HB 18. See HB 18 § 509.151 (“A violation of this chapter

is a deceptive act or practice actionable . . . solely as an enforcement action by the consumer

protection division of the attorney general’s office.”).2

                                                  B. HB 18

                                                 1. Coverage

         HB 18 regulates “digital service provider[s]” (“DSPs”) that “allow[] users to socially interact

with other users.” HB 18 §§ 509.001(2), 509.002(a)(2). This definition includes standard social media

platforms such as Facebook and Instagram as well as other “social” websites such as YouTube and

Reddit. HB 18 defines DSPs as any “website,” “application,” “program,” or software that collects or

processes personal identifying information (“PII”) and:

                 (1) “determines” both the “means” and the “purpose of collecting and
                     processing the [PII] of users,” HB 18 § 509.001(1)-(2);
                 (2) “connects users in a manner that allows users to socially interact
                     with other users on the digital service,” id. § 509.002(a)(1);
                 (3) “allows a user to create a public or semi-public profile for purposes
                     of signing into and using the digital service,” id. § 509.002(a)(2);
                     and
                 (4) “allows a user to create or post content that can be viewed by other
                     users of the digital service, including sharing content on: (A) a
                     message board; (B) a chat room; or (C) a landing page, video
                     channel, or main feed that presents to a user content created and
                     posted by other users,” id. § 509.002(a)(3).

2 HB 18 also creates a separate private right of action. HB 18 § 509.152.


                                                       2
           Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 3 of 38



        Examples of covered DSPs include a “message board,” a “chat room,” and “a landing page,

video channel, or main feed.” Id. § 509.002(a)(3). Exceptions to the law include: state and local

government websites, financial institutions, medical websites, small businesses, institutions of higher

education, employee management software, school education software, and email services that only

provide “social” functions that are “incidental” to their main service. Id. § 509.002(b). Notably, the

law also exempts DSPs that “primarily” feature “news, sports, commerce, or content primarily

generated by the [website]” but “allows chat, comment, or other interactive functionality that is

incidental to the digital service.” Id.

                                               2. Requirements

                                 a. Age Registration and Parental Disputes

        With the stated purpose of protecting minors, HB 18 imposes age registration and

verification requirements on users. Under HB 18, covered DSPs must make users “register” their

age before those users can create an account. Id. § 509.051(a) (covered DSPs “may not enter into an

agreement with a person to create an account with a digital service unless the person has registered

the person’s age with the website.”). A user cannot change their registered age “unless the alteration

process involves a commercially reasonable review process.” Id. § 509.051(c).

        HB 18 also allows parents to dispute the registered age of their child by notifying “a [DSP]

that the minor is younger than 18 years of age” or successfully disput[ing] the registered age of the

minor . . . .” Id. § 509.051(d)(2).3 If a parent disputes the age of their child, the DSP must treat the

user as a known minor. Id. § 509.051(e). To ensure parenthood, HB 18 requires DSPs to “verify,

using a commercially reasonable method and for each person seeking to perform an action on a




3 The statute also allows parents to dispute the age of a minor if the parent “performs another function of a

parent of guardian under this chapter.” HB 18 § 509.051(d)(2)(C). It is not entirely clear what this language
refers to.

                                                       3
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 4 of 38



digital service as a minor’s parent or guardian: (1) the person’s identity; and (2) the relationship of

the person to the known minor.” Id. § 509.101(a).

                             b. “Monitoring-and-Filtering” Requirements

        If a known minor logs into a covered website, HB 18 imposes several new requirements on

the DSPs. Chief among these are the requirements set forth in Section 509.053, which the Court

refers to as the “monitoring-and-filtering” requirements. As this label suggests, these requirements

make DSPs monitor certain categories of content and filter them from being on display for known

minors. Specifically, HB 18 requires covered DSPs to “develop and implement a strategy to prevent

[a] known minor’s exposure to” defined categories of prohibited speech. Id. § 509.053(a). HB 18

prohibits content “that promotes, glorifies, or facilitates” the following categories:

                (A) “suicide, self-harm, or eating disorders”;
                (B) “substance abuse”;
                (C) “stalking, bullying, or harassment”;
                (D) “grooming, trafficking, child pornography, or other sexual
                    exploitation or abuse”; and
                (E) material that qualifies as obscenity for minors under Texas Penal
                    Code § 43.24.

Id.

        Strategies to prevent minors’ exposure to these harmful categories “must include”:

                (A) creating and maintaining a comprehensive list of harmful material
                    or other content described [above] to block from display to a
                    known minor;
                (B) using filtering technology and other protocols to enforce the
                    blocking of material or content on the list [above];
                (C) using hash-sharing technology and other protocols to identify
                    recurring harmful material or other content described [above];
                (D) creating and maintaining a database of keywords used for filter
                    evasion, such as identifiable misspellings, hash-tags, or identifiable
                    homoglyphs;
                (E) performing standard human-performed monitoring reviews to
                    ensure efficacy of filtering technology;
                (F) making available to users a comprehensive description of the
                    categories of harmful material or other content described [above]
                    that will be filtered; and


                                                    4
           Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 5 of 38



                 (G) except as provided by Section 509.058, making available the digital
                     service provider’s algorithm code to independent security
                     researchers.

Id. § 509.053(b)(1).4

                                        c. Additional Requirements

        In addition to the “monitoring-and-filtering” requirements, HB 18 imposes regulations on

how DSPs can treat the data of known minors. First, the law imposes limits on what kind of data a

DSP may collect. Covered DSPs must “limit collection of the known minor’s [PII]to information

reasonably necessary to provide the digital service” and “limit use of the [PII] to the purpose for

which the information was collected . . . .” HB 18 § 509.052(1). In addition, a covered DSP may not:

(A) allow the known minor to make purchases or engage in other financial transactions through the

digital service; (B) share, disclose, or sell the known minor’s PII; (C) use the digital service to collect

the known minor’s precise geolocation data; or (D) use the digital service to display targeted

advertising to the known minor. Id. § 509.052(2).

        Second, HB 18 requires DSPs to create and provide parental tools for digital services. Id. §

509.054. Parents must be able to “control the known minor’s privacy and account settings,” alter

data collection and financial transaction settings for the minor, and “monitor and limit the amount

of time the . . . known minor spends” using the DSP. Id. § 509.054(b).

        Third, HB 18 requires DSPs to “make a commercially reasonable effort to prevent

advertisers on the digital service provider’s [website] from targeting a known minor” with content


4 In addition to the above mandatory strategies, HB 18 allows DSPs to use other strategies, including:

       (A) creating engaging a third party to rigorously review the digital service provider’s content
           filtering technology;
       (B) participating in industry-specific partnerships to share best practices in preventing access
           to harmful material or other content described [above]; or
       (C) conducting periodic independent audits to ensure:
                      i. continued compliance with the digital service provider’s strategy; and
                     ii. efficacy of filtering technology and protocols used by the digital service
                         provider.
HB 18 § 509.053(b)(2).

                                                       5
             Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 6 of 38



that “facilitates, promotes, or offer[s] a product, service, or activity that is unlawful for a minor in

this state to use or engage in.” Id. § 509.055.

        Fourth, DSPs that publish content, more than one-third of which is obscene for minors

under Texas law, “must use a commercially reasonable age verification method to verify that” the

user seeking to access the information is 18 or older. Id. § 509.057. Plaintiffs do not challenge this

provision.

        Fifth, HB 18 requires covered DSPs that “use[] algorithms to automate the suggestion,

promotion, or ranking of information to known minors” to “disclose . . . in a clear and accessible

manner, an overview of”: (1) “the manner in which the digital service uses algorithms to provide

information or content”; (2) “the manner in which algorithms promote, rank, or filter information

or content”; and (3) “the [PII] used as inputs to provide information or content.” Id. § 509.056(2).

DSPs that “use[] algorithms to automate the suggestion, promotion, or ranking of information”

must “make a commercially reasonable effort to ensure that the algorithm does not interfere with

the [DSP’s] duties.” Id. § 509.056(1).5

                                          C. Procedural History

        Plaintiffs filed suit on July 30, 2024, and filed a motion for a preliminary injunction

concurrently with their complaint. (Compl., Dkt. 1; Mot. Prelim. Inj., Dkt. 6). Paxton filed a

response, (Dkt. 18), and Plaintiffs filed a reply, (Dkt. 24).6

        Plaintiffs allege that HB 18 violates the First Amendment because it is a content-

based law that does not survive strict scrutiny. (Compl., Dkt. 1, at 21–25). Their preliminary



5 HB 18 contains various other provisions related to the practical enforcement of the law, such as clarifying

that PII may be shared to comply with legal investigations, HB 18 § 509.059(1); that DSPs need not disclose
trade secrets, id. § 509.058; and that the Department of Family and Protective Services may designate its staff
as a minor’s caregiver, if a minor is in the agency’s conservatorship. Id. § 509.104.
6 The parties filed a joint notice that the motion can be decided solely on the papers without a hearing. (Dkt.

19).

                                                       6
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 7 of 38



injunction argues both that the coverage provision and thereby the law as a whole is content-

based, and it argues that the monitoring-and-filtering requirements are independently

content-based. (Mot. Prelim. Inj., Dkt. 6, at 14–24). Plaintiffs also argue that the law is void

for vagueness, (Compl., Dkt. 1, at 25–26, 32–34), imposes unconstitutional prior restraints,

(id. at 26–32), and is preempted under Section 230 of the Communications Decency Act

(“Section 230”). (Id. at 34–35). Plaintiffs seek a preliminary injunction of the law, requesting

that the Court enjoin Paxton from enforcing HB 18 in full. (Mot. Prelim. Inj., Dkt. 6, at 20).

        Paxton filed a response in opposition to the motion. (Dkt. 18). Paxton argues that

Plaintiffs’ claim is barred by sovereign immunity and that Plaintiffs lack standing to bring

suit. (Id. at 18–23). Paxton also claims that HB 18 should not be classified as a whole and

that its disparate provisions, many of which are not content based, should survive First

Amendment scrutiny, to the extent the First Amendment applies at all. (Id. at 23–30). Paxton

further argues that HB 18 does not violate the First Amendment, is subject to limiting

constructions, is not unconstitutionally vague, and is not preempted under Section 230. (Id.

at 30–44). Finally, Paxton notes four “issues” with Plaintiffs’ motion: (1) the law is severable;

(2) the law is not a prior restraint; (3) age verification is not challenged in Plaintiffs’ motion;

and (4) Plaintiffs improperly delayed bringing suit. (Id. at 44–45). Plaintiffs filed a reply, (Dkt.

24), and Paxton filed an opposed motion for leave to file a surreply. (Dkt. 23).

                                       II. LEGAL STANDARD

        A preliminary injunction is an extraordinary remedy, and the decision to grant such relief is

to be treated as the exception rather than the rule. Valley v. Rapides Par. Sch. Bd., 118 F.3d 1047, 1050

(5th Cir. 1997). “A plaintiff seeking a preliminary injunction must establish that he is likely to

succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief,

that the balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.


                                                     7
           Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 8 of 38



Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The party seeking injunctive relief carries the burden

of persuasion on all four requirements. PCI Transp. Inc. v. W. R.R. Co., 418 F.3d 535, 545 (5th Cir.

2005).

                                           III. DISCUSSION

         As Paxton notes, Plaintiffs’ motion turns on the likelihood of success on the merits. (Resp.,

Dkt. 18, at 45 (“The remaining preliminary injunction factors will not meaningfully impact this

case.”)). The Court will begin its likelihood of success analysis with the jurisdictional issues: whether

Paxton is entitled to sovereign immunity and Plaintiffs’ standing to bring suit. Finding that Ex parte

Young applies and Plaintiffs have standing, the Court will then turn to the merits of Plaintiffs’

motion.

                                        A. Sovereign Immunity

         The Eleventh Amendment deprives federal courts of jurisdiction over “suits against a state, a

state agency, or a state official in his official capacity unless that state has waived its sovereign

immunity or Congress has clearly abrogated it.” Moore v. La. Bd. of Elementary & Secondary Educ., 743

F.3d 959, 963 (5th Cir. 2014). However, lawsuits may proceed in federal court when a plaintiff

requests prospective relief against state officials in their official capacities for ongoing federal

violations under the Ex parte Young exception. 209 U.S. 123, 159–60 (1908). For the exception to

apply, “the state official, ‘by virtue of his office,’ must have ‘some connection with the enforcement

of the [challenged] act, or else [the suit] is merely making him a party as a representative of the state,

and thereby attempting to make the state a party.’” City of Austin v. Paxton, 943 F.3d 993, 997 (5th

Cir. 2019) (quoting Young, 209 U.S. at 157).

         The Fifth Circuit’s test for a defendant with “some connection” to enforcement looks to

three factors: (1) the particular duty to enforce the challenged law; (2) a demonstrated willingness of

enforcement; and (3) enforcement authority that amounts to “compulsion” or “constraint.” Mi


                                                     8
           Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 9 of 38



Familia Vota v. Ogg, 105 F.4th 313, 325 (5th Cir. 2024). Plaintiffs argue that all three elements are met

because the Texas Attorney General’s Office enforces HB 18, has shown a willingness to enforce

the law, and the enforcement power constitutes compulsion and constraint. (See Mot. Prelim. Inj.,

Dkt. 6). Paxton focuses his briefing on the particular duty to enforce and demonstrated willingness

to enforce. (See Resp., Dkt. 18).

        As to his “particular duty,” Paxton suggests there is a distinction between a “particular duty

to enforce the statute” and a mere “[d]iscretionary authority to act[.]” (Id. at 18 (citing Tex. All. for

Retired Ams. v. Scott, 28 F.4th 669, 672 (5th Cir. 2022); Mi Familia Vota, 105 F.4th at 327)). Because

HB 18 authorizes the Attorney General to enforce the law—but does not require enforcement

against all known violations—Paxton argues that his authority does not exceed the discretionary

authority to act.

        Paxton conflates two different elements of the Ex parte Young test. Whether the defendant

has the “particular duty” to enforce the challenged law is different than whether there is a

“demonstrated willingness” of enforcement. See Mi Familia Vota, 105 F.4th at 325. To demonstrate a

“particular duty,” Ex parte Young requires neither a history of enforcement nor a statutory

requirement of enforcement. City of Austin, 943 F.3d at 1001; Air Evac EMS, Inc. v. Tex. Dep’t of Ins.,

Div. of Workers’ Comp., 851 F.3d 507, 519 (5th Cir. 2017); Tex. Democratic Party v. Abbott, 961 F.3d 389,

401 (5th Cir. 2020). Under HB 18, Paxton has the “particular duty” to enforce the law because a

“violation [is] actionable . . . solely as an enforcement action by the consumer protection division of

the attorney general’s office.” HB 18 § 509.151.7 Whether that enforcement is mandatory or

discretionary speaks to a “demonstrated willingness” to enforce the statute—not whether Paxton

has the “particular duty” of its enforcement. See Natl. Press Photographers Assn. v. McCraw, 90 F.4th



7 HB 18 also creates a private right of action for equitable relief, but Paxton is the sole governmental agent

authorized to bring suit. HB 18 § 509.151–52.

                                                        9
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 10 of 38



770, 786 (5th Cir. 2024) (finding state agency heads with discretionary enforcement power had a

particular duty to enforce and noting that “[a]s heads of Texas law-enforcement agencies,

[defendants] have more than just the general duty to see that the state’s laws are implemented—they

are directly responsible for enforcing Texas’s criminal laws”).

        As to the “demonstrated willingness,” there need be only a “scintilla of enforcement by the

relevant state official” for Ex parte Young to apply. City of Austin, 943 F.3d at 1002 (quotations

omitted). Imminent enforcement or actual threats thereof are “not required.” Air Evac, 851 F.3d at

519. Paxton suggests that he “must have taken some step to enforce HB 18” in order to be a proper

Ex parte Young defendant. (Resp., Dkt. 18, at 18 (quoting Mi Familia Vota, 105 F.4th at 329)). But

Plaintiffs bring a pre-enforcement challenge for a law that has not yet taken effect. Evidence of

actual enforcement is therefore impossible and is not required. See Calhoun v. Collier, 78 F.4th 846,

851 (5th Cir. 2023). All Plaintiffs must show is “‘some scintilla’ of affirmative action by the state

official . . . .” Id. (citing Tex. Democratic Party, 961 F.3d at 401).

        That “scintilla” is met. Critically, Paxton has not disavowed enforcement. See Virginia v. Am.

Booksellers Ass’n, Inc., 484 U.S. 383 (1988) (“We are not troubled by the pre-enforcement nature of

this suit. The State has not suggested that the newly enacted law will not be enforced, and we see no

reason to assume otherwise.”); Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 302 (1979)

(“[T]he State has not disavowed any intention of invoking the criminal penalty . . . . Appellees are

thus not without some reason in fearing prosecution for violation of the ban . . . .”). In the First

Amendment context, this is enough. See Nat’l Press, 90 F.4th at 782 (“Unlike in other constitutional

contexts, in the speech context, we may assume a substantial threat of future enforcement absent

compelling contrary evidence.”) (internal citation and quotation omitted).

        Beyond his refusal to disavow, Paxton’s response to the preliminary injunction motion

makes clear that he does intend to enforce the law. Paxton’s motion repeatedly emphasizes that he


                                                        10
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 11 of 38



believes social media is severely harming children. Paxton’s introduction says, “[Plaintiffs] appear to

think the Constitution leaves Texas powerless to defend its children . . . against the obvious dangers

linked to social media use. They are wrong.” (Resp., Dkt. 18, at 11). Paxton compares social media

sites to “a slot machine, . . . giv[ing] users dopamine hits every so often . . . to keep them hooked just

a little longer.” (Id. at 13). Paxton’s motion states that “[s]ocial media is hurting our children at an

alarming and growing rate.” (Id. at 16). These statements are, at the very least, a “scintilla” of

willingness to enforce. Any reasonable reader of these statements would consider them to indicate

an intent to enforce. Paxton’s refusal to disavow enforcement, combined with his strident criticism

of the impacts of social media on children, shows a “scintilla” of willingness to enforce HB 18.

        Paxton instead argues that a recent Fifth Circuit case––Mi Familia Vota––upended Supreme

Court precedent on pre-enforcement challenges by requiring a mandatory (rather than discretionary)

enforcement provision. (Resp., Dkt. 18, at 18 (citing Mi Familia Vota, 105 F.4th at 327)). In Mi

Familia Vota, a group of plaintiffs challenged Texas’s general election laws by suing, (among others),

the Harris County District Attorney Kim Ogg. Id. at 317. Because Ogg had only the general duty to

enforce the laws of the state, the Fifth Circuit found that the “[d]iscretionary authority to act, on its

own, is insufficient to give rise to a particular duty to act,” which was “derived from the Texas

constitution . . . and from the Texas Code of Criminal Procedure.” Id. at 327–28. The court also

noted that Ogg “never enforced the challenged provisions in the past” and that Plaintiffs had not

shown any “action taken by Ogg to show a demonstrated willingness to enforce.” Id. at 330. Indeed,

Ogg stipulated that she would not enforce the law during the pendency of the suit. Id.

        Mi Familia Vota is readily distinguishable in at least three material ways. First, as just

discussed, Paxton has shown a willingness to enforce. By describing at length the ways in which

social media is harming children and how the law represents a substantial and compelling state

interest, Paxton has shown a “scintilla” of willingness to enforce. Second, whereas Ogg stipulated


                                                    11
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 12 of 38



that she would not enforce the law during the pendency of suit, Paxton has not done so here. Third,

unlike Ogg’s enforcement power in Mi Familia Vota, Paxton’s authority to enforce HB 18 is not

derived from the general constitutional duties of the Texas Attorney General. Instead, his

enforcement authority is designed from the statute itself, vesting him with the “sole[]” power to take

“enforcement action” under the law. HB 18 § 509.151.

        Paxton’ final argument suggests that Ex parte Young does not apply because the “consumer

protection division of the attorney general’s office” is vested with the authority to bring suits, rather

than Paxton himself. (Resp., Dkt. 18, at 18). Ex parte Young requires only “some connection” to

enforcement. Lewis v. Scott, 28 F.4th 659, 663 (5th Cir. 2022). “Where a state actor or agency is

statutorily tasked with enforcing the challenged law and a different official is the named defendant,

[the] Young analysis ends.” City of Austin, 943 F.3d at 998 (emphasis added). Paxton, as Attorney

General, is in charge of the Consumer Protection Division of the Attorney General’s Office. He

“enforces the law” through its subdivisions, including the Consumer Protection Division. Book

People, Inc. v. Wong, 91 F.4th 318, 335 (5th Cir. 2024). Paxton does not deny that he has ultimate

control over the management of divisions in his office and the prosecution of cases brought by

those divisions. That authority establishes “some connection” to the law. Because Paxton has the

particular duty to enforce HB 18 and a demonstrated willingness to do so, he is a proper defendant

under Ex parte Young. Accordingly, Plaintiffs’ suit is not barred by sovereign immunity.

                                               B. Standing

        Next, the Court addresses Plaintiffs’ standing to bring suit. Paxton raises several arguments

on this point: (1) Plaintiffs lack pre-enforcement standing, especially on provisions that regulate

activities Plaintiffs do not engage in; (2) Plaintiffs have no associational standing for their facial

challenges; (3) Plaintiffs lack associational standing for their as-applied challenges; (4) Plaintiffs’ as-




                                                     12
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 13 of 38



applied challenge is not ripe; and (5) Plaintiffs lack standing to assert third-party rights of their users.

(Resp., Dkt. 18, at 19–23).

                                      1. Pre-Enforcement Standing

        “In a pre-enforcement challenge, Plaintiffs can establish an injury in fact if they show that

‘(1) they have an intention to engage in a course of conduct arguably affected with a constitutional

interest, (2) their intended future conduct is arguably proscribed by the policy in question, and (3)

the threat of future enforcement of the challenged policies is substantial.’” Book People, 91 F.4th at

335 (quoting Speech First, 979 F.3d at 330). Paxton does not dispute these second and third prongs.

(Resp., Dkt. 18, at 19). Instead, Paxton argues that Plaintiffs (and their members) lack standing to

challenge many provisions of HB 18 because they do not engage in all activities regulated by the law,

such as collecting a user’s precise geolocation data and selling a minor’s PII. (Id.).

        Paxton correctly notes that “Plaintiffs must show an intent to engage in the conduct being

regulated for each claim they press.” (Id. (emphasis in original) (citing TransUnion LLC v. Ramirez, 594

U.S. 413, 431 (2021); Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014))). But Plaintiffs state

in their complaint that “HB 18 mandates that covered websites adopt many costly requirements”

and that the “haphazard” regulations likely “burden[] speech dissemination.” (Compl., Dkt. 1, at 3).

Those regulations plausibly target at least some of Plaintiffs’ members, and, at any rate, the Court

does not enjoin HB 18’s enforcement as to these other provisions. See infra, Section III.C.2.A.

                                        2. Associational Standing

        An association has standing to bring suit on behalf of its members when: “(a) its members

would otherwise have standing to sue in their own right; (b) the interests it seeks to protect are

germane to the organization’s purpose; and (c) neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.” Assn. of Am. Physicians & Surgeons,




                                                    13
         Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 14 of 38



Inc. v. Texas Med. Bd., 627 F.3d 547, 550 (5th Cir. 2010) (citing Hunt v. Wash. St. Apple Adver. Comm’n,

432 U.S. 333, 343 (1977)).

        Plaintiffs meet these three criteria. Beginning with the second prong, which is effectively

uncontested, Plaintiffs seek to protect an interest germane to their organizational purposes. Both

Plaintiffs are trade associations that aim to promote online commerce, speech, and accessibility for

internet services. (Compl., Dkt. 1, at 4–5). HB 18 potentially interferes with that mission, regulating

how minors can access their online platforms.

        Paxton appears to focus his arguments on the first prong: whether Plaintiffs’ members

would have standing to sue in their own right. (See Resp., Dkt, 18, at 19). Here, Paxton relies heavily

on the Supreme Court’s recent decision in Moody v. NetChoice, LLC, 144 S. Ct. 2383 (2024). In Moody,

the Supreme Court dealt with separate challenges to new Texas and Florida social media laws that

regulated online platforms’ ability to engage in content moderation. Id. at 2393. Rather than

definitively rule on the constitutionality of the laws, the Supreme Court vacated the circuit court

decisions, finding that the lower courts had failed to conduct proper facial analyses of the laws at

issue. Id. at 2397, 2409. While Moody certainly cautions lower courts to treat facial challenges

carefully, Moody is not a case about standing. The majority opinion does not contain a single mention

of “standing,” much less third-party or associational standing. See id. Put simply, Moody did not alter

the standing analysis for associations, only the proper scope of relief for when those associations

challenge laws under the First Amendment.

        Moody aside, there is little question that Plaintiffs’ members would have standing to sue in

their own right. Many of the members are social media companies and digital service providers who

are regulated by HB 18; including Meta (Facebook and Instagram); Google (YouTube); Snap, Inc.

(Snapchat); Nextdoor; Pinterest; and X. As objects of the regulation, those members would have

standing to sue. Texas v. EEOC, 933 F.3d 433, 446 (5th Cir. 2019) (“If, in a suit ‘challenging the


                                                   14
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 15 of 38



legality of government action,’ ‘the plaintiff is himself an object of the action . . . there is ordinarily

little question that the action or inaction has caused him injury, and that a judgment preventing or

requiring the action will redress it.’”) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 561–62 (1992)).

        Finally, turning to the third prong of associational standing, Plaintiffs’ members do not need

to participate in this suit. The inquiry regarding the participation of members does not derive from

Article III but is “solely prudential.” Assn. of Am. Physicians & Surgeons, Inc., 627 F.3d at 550. The

inquiry focuses importantly on “matters of administrative convenience and efficiency” and is

assessed by “examining both the relief requested and the claims asserted.” Id. at 551. Paxton argues

that Plaintiffs’ “facial claims require the participation of individual members,” again suggesting that

Moody impliedly changed this test. (Resp., Dkt. 18, at 12 (“Moody requires a member-specific analysis

for facial claims in this context. Plaintiffs’ members will need to participate in this lawsuit to resolve

these facial claims, which means Plaintiffs lack standing to sue in their associational capacity.”)). To

repeat, Moody’s majority opinion does not mention standing or the requirement of individual

participation. 144 S. Ct. at 2394. Moody does show that facial challenges may sometimes require

individualized or detailed inquiries into members’ activities, but that does not automatically

necessitate those members’ participation as parties in the suit.8 Other mechanisms such as detailed

briefing and discovery will likely provide sufficient information to make individualized inquiries

where needed.

        With the exact same Plaintiffs as in Moody, there is no prudential reason why Plaintiffs’

members must participate in this suit. The preliminary injunction motion does not involve heavily

contested issues of fact. This is especially true for the “monitoring-and-filtering” requirements,



8 If a trade association brings suit but cannot show in sufficient detail that a law is unconstitutional in the

substantial majority of its applications, then it will not obtain a facial injunction. That is to say, the problem
identified by Moody can be remedied by denying facial challenges on the merits, not dismissing the entire suit
for lack of standing.

                                                        15
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 16 of 38



whose constitutionality does not seriously turn on Plaintiffs’ members’ particular activities. As is the

case here, the parties’ briefing and discovery will likely provide sufficient information to make

individualized inquiries where needed. Finally, courts regularly allow membership organizations and

trade associations to bring suit on behalf of their members when they seek to enjoin enforcement of

a statute or regulation, rather than damages. See United Food and Com. Workers Union Loc. 751 v. Brown

Grp., 517 U.S. 544, 553–54 (1996). Even acknowledging the “variegated” nature of the internet,

individual participation is not required.

                          3. Association Standing for As-Applied Challenges

        Paxton next suggests that Plaintiffs cannot bring an as-applied challenge on behalf of their

members because an as-applied challenge would still require the participation of individual members.

(Resp., Dkt. 18, at 20). Again, the member participation requirement is purely “prudential” and is

not fatal to Plaintiffs’ standing. See Assn. of Am. Physicians & Surgeons, Inc., 627 F.3d at 550. Unlike the

laws at issue in Moody, HB 18 imposes relatively uniform requirements on all Plaintiffs’ covered

members. For example, if HB 18 is problematic because it requires DSPs to filter broad swaths of

covered content, that problem applies equally across DSPs. See infra, Section III.C.1. The law’s

overbroad tailoring does not vary between covered DSPs. The same is true for vagueness—there is

no reason to believe one social media company is better suited than another to understand HB 18’s

vague terms.

                                 4. Ripeness for As-Applied Challenges

        As to ripeness, Paxton suggests that “a party cannot challenge a statute as-applied unless the

statute has been applied to him.” (Resp., Dkt. 18, at 21 (quoting Ctr. for Individual Freedom v.

Carmouche, 449 F.3d 655, 659 (5th Cir. 2006))). But in the First Amendment context, a party does

“not need to break the law and thereby expose [themselves] to liability” in order to challenge a

regulation. Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 926 (5th Cir. 2023). The general test for


                                                    16
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 17 of 38



ripeness, which the Fifth Circuit has used in the as-applied context, see id., examines only “(1) the

fitness of the issues for judicial decision and (2) the hardship to the parties of withholding court

consideration.” Book People, 91 F.4th at 333. That test is met. Legal issues predominate this challenge

and are ready for judicial review, while withholding that review would impose irreparable harm on

Plaintiffs’ members. See infra, Section III.F.

                                         5. Third-Party Standing

        Last, Paxton argues that Plaintiffs lack the ability to assert the First Amendment rights of the

users of social media DSPs. (Resp., Dkt. 18, at 21–22). As to the provisions which cover users’

ability to post and view speech, Plaintiffs have third-party standing. Am. Booksellers, 484 U.S. at 392

(1988) (“[I]n the First Amendment context, litigants are permitted to challenge a statute not because

their own rights of free expression are violated, but because of a judicial prediction or assumption

that the statute’s very existence may cause others not before the court to refrain from

constitutionally protected speech or expression.”) (cleaned up). It is less clear that Plaintiffs have

standing to assert the rights of users related to the other provisions, such as collection of geolocation

data. Those provisions do not seem to regulate a user’s access to speech, so it is unclear that the

American Booksellers presumption would apply. Instead, Plaintiffs’ standing for those provisions

seems to be based on arguments that the law is facially overbroad and would burden the ability to

host protected speech. (See Compl., Dkt. 1, at 2–3). Assuming those provisions do burden the ability

to display protected speech, then third-party standing is unnecessary because social media DSPs

have standing to sue in their own right.

                                    C. First Amendment Analysis

        Having found that Plaintiffs have standing to bring suit, the Cout turns its analysis to the

merits of the case. “[T]he First Amendment provides in relevant part that ‘Congress shall make no

law . . . abridging the freedom of speech,’ and ‘the Fourteenth Amendment makes the First


                                                    17
           Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 18 of 38



Amendment’s Free Speech Clause applicable against the States.’” NetChoice, LLC v. Fitch, No. 1:24-

CV-170-HSO-BWR, 2024 WL 3276409, at *7 (S.D. Miss. July 1, 2024) (quoting Manhattan Cmty.

Access Corp. v. Halleck, 587 U.S. 802, 808 (2019)). The First Amendment protects both freedom of

speech as well as the “right to receive information and ideas, regardless of their social worth.” Stanley

v. Georgia, 394 U.S. 557, 564 (1969). First Amendment protection extends to social media, which

“allows users to gain access to information and communicate with one another about it on any

subject that might come to mind.” Packingham v. North Carolina, 582 U.S. 98, 107 (2017). “[T]o

foreclose access to social media altogether is to prevent the user from engaging in the legitimate

exercise of First Amendment rights.” Id. at 108.

                                        1. Strict Scrutiny Applies

         The threshold question is what level of scrutiny applies to HB 18’s regulations. See Turner

Broad. System, Inc. v. FCC, 512 U.S. 622, 637 (1994). In their motion, Plaintiffs treat HB 18 as a

whole, arguing that the law’s “central coverage definition of ‘digital service provider’ is” a content-

and speaker-based regulation. (Mot. Prelim. Inj., Dkt. 6, at 14). In response, Paxton suggests that it is

a mistake to treat HB 18 as one indivisible law, subject to the same standard of scrutiny across the

board. (Resp., Dkt. 18, at 23). Instead, Paxton argues that the Court must treat each subsection

separately, conducting a “provision-by-provision” analysis rather than a “one-size-fits-all” approach.

(Id. at 24).

         The Court agrees with Plaintiffs that HB 18’s threshold coverage definition is a content-

based regulation. HB 18 § 509.002(a)(1). HB 18 regulates [DSPs] that specifically host or broadcast

“social” speech, thereby subjecting “social” content to heightened regulation. Id. HB 18 §

509.002(a)(1). Non-social interactions, such as professional interactions, are not covered, while social

interactions are. That is clear in HB 18’s content-based exceptions. DSPs that provide “content

primarily generated or selected by the” provider or primarily “functions to provide a user with access


                                                   18
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 19 of 38



to news, sports, [or] commerce” are exempted. HB 18 § 509.002(b)(10)(A). This “singles out specific

subject matter for differential treatment,” by using the “function or purpose” of speech as a stand-in

for its content. Reed v. Town of Gilbert, 576 U.S. 155, 163–64, 169 (2015). HB 18 is therefore a

content- and speaker-based regulation, targeting DSPs whose primary function is to share and

broadcast social speech. “[L]aws favoring some speakers over others demand strict scrutiny when

the legislature’s speaker preference reflects a content preference.” Id. at 170. When the government

favors some speakers over others for their content, the law must be subject to strict scrutiny. Barr v.

Am. Assn. of Political Consultants, Inc., 591 U.S. 610, 619–21 (2020) (controlling plurality op.); Reed, 576

U.S. at 163 (“Government regulation of speech is content based if a law applies to particular speech

because of the topic discussed or the idea or message expressed.”). The elevation of news, sports,

commerce, and provider-generated content over user-generated content is a content-based

regulation.

        In response, Paxton suggests that these arguments are foreclosed by the Fifth Circuit. (Resp.,

Dkt. 18, at 24 (citing NetChoice, LLC v. Paxton, 49 F.4th 439, 480 (5th Cir. 2022) (“NetChoice I”),

vacated and remanded sub nom. Moody v. NetChoice, LLC, 144 S. Ct. 2383 (2024))). In NetChoice I, the

Fifth Circuit rejected a similar argument brought by Plaintiffs by holding that regulations targeting

social media did “not render [the law at issue] content-based because the excluded websites are

fundamentally dissimilar mediums.” NetChoice I, 49 F.4th at 480.

        That ruling is no longer binding because the Supreme Court vacated NetChoice I, “void[ing]

each of the judgment’s holdings.” Doe v. McKesson, 71 F.4th 278, 286 (5th Cir. 2023); see also Moody,

144 S. Ct. at 2409 (vacating judgment). Paxton suggests that Moody “effectively confirmed, or at least

did not disturb, the Fifth Circuit’s analysis on this point.” But the Supreme Court “disturbed” the

analysis when it vacated the opinion. Paxton suggests that the Supreme Court’s own opinion “also

rebuffed” Plaintiffs theory—but it is not clear how. (See Resp., Dkt. 18, at 24). To the contrary, the


                                                    19
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 20 of 38



Supreme Court expressly stated that “there has been enough litigation already to know that the Fifth

Circuit, if it had stayed the course, would get wrong at least one significant input . . . . ” Moody, 144 S.

Ct. at 2349. While the Supreme Court did not determine “whether to apply strict or intermediate

scrutiny[,]” that was only because “Texas’s law [did] not pass” either intermediate or strict scrutiny,

at least applied to key respects of the law. Id. at 2407.

        Cutting against the Fifth Circuit’s analysis in NetChoice I, the Supreme Court noted that

“presenting a curated and edited compilation of [third-party] speech is itself protected.” Id. at 2409

(internal citations omitted). It noted that “editorial judgments influencing the content of [Facebook’s

News Feed and YouTube’s homepage] are, contrary to the Fifth Circuit’s view, protected expressive

activity.” Id. If the discretion to favor social content over other messages is protected editorial

judgment, then laws like HB 18 are not just targeting “fundamentally dissimilar mediums.” Those

laws are targeting DSPs based on those protected editorial judgments. So, at the very least, Moody

calls into serious question NetChoice I’s discussion of “content-based” laws.

        The district court’s reasoning in NetChoice, LLC v. Yost is instructive. No. 2:24-CV-00047,

2024 WL 555904, at *8–11 (S.D. Ohio Feb. 12, 2024). There, a district court dealt with a highly

similar Ohio law that targeted DSPs hosting “social” speech and excluded sites focused on news and

product reviews. Id. at *8. The district court grappled with whether the “social” distinction was

“content-based” or merely regulated the “manner in which” companies “transmit” the content. Id. at

*9 (quoting Turner Broad. Sys., 512 U.S. at 637).9 Although emphasizing that “[i]t is a close call[,]” the

court ultimately found that social media DSPs “are not ‘mere conduits’” but ‘curate both users and




9 But see Reed, 576 U.S. at 163 (“Some facial distinctions based on a message are obvious, defining regulated

speech by particular subject matter, and others are more subtle, defining regulated speech by its function or
purpose. Both are distinctions drawn based on the message a speaker conveys, and, therefore, are subject to
strict scrutiny.”).

                                                      20
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 21 of 38



content to convey a message about the type of community the platform seeks to foster.’” Id. at *11

(quoting NetChoice, LLC v. Paxton, 573 F. Supp. 3d 1092, 1107 (W.D. Tex. 2021)).10

        In an even more similar case, a Mississippi district court found a nearly identical law (H.B.

1126) to be content- and speaker-based:

                 In essence, H.B. 1126 treats or classifies digital service providers
                 differently based upon the nature of the material that is disseminated,
                 whether it is “social interaction,” as opposed to “news, sports,
                 commerce, [or] online video games[.]” [HB 1126] can thus be viewed
                 as either drawing a facial distinction based on the message the digital
                 service provider conveys (i.e., news and sports), or based on a more
                 subtle content-based restriction defining regulated speech by its
                 function or purpose (i.e., providing news and sports). Either way,
                 [b]oth are distinctions drawn based on the message a speaker conveys.

Fitch, 2024 WL 3276409, at *9 (quoting HB 1126) (cleaned up).

        Like the district courts in Yost and Fitch, this Court finds that HB 18 discriminates based on

the type of content provided on a medium, not just the type of medium. A DSP that allows users to

socially interact with other users but “primarily functions to provide” access to news or commerce is

unregulated. An identical DSP, with the exact same medium of communication and method of

social interaction, but “primarily functions to provide” updates on what a user’s friends and family

are doing (e.g., through Instagram posts and stories), is regulated. If there is a difference between the

regulated DSP and unregulated DSP, it is the content of the speech on the site, not the medium

through which that speech is presented. When a site chooses not to primarily offer news but instead

focus on social engagement, it changes from an uncovered to covered platform. But the type of

medium has not changed, only the content primarily expressed on the platform.




10 In NetChoice I, the Fifth Circuit ruled that these editorial decisions fall outside the First Amendment, which

in turn allowed the court to consider social media platforms “mere conduits.” NetChoice I, 49 F.4th at 480. But
in reversing NetChoice I on the First Amendment value of editorial judgments, Moody undercut the premise
that had allowed the Fifth Circuit to consider social media regulations content neutral. Moody, 144 S. Ct. at
2399.

                                                       21
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 22 of 38



        In sum, strict scrutiny applies to HB 18’s provisions because the law regulates DSPs based

on the content of their speech and the identity of the speaker. Paxton must therefore prove that HB

18 is “the least restrictive means of achieving a compelling state interest.” Nat’l Inst. of Family & Life

Advocs. v. Becerra, 585 U.S. 755, 766 (2018) (“NIFLA”) (citation omitted).

                                      2. HB 18 and Strict Scrutiny

        In his response, Paxton does not mount a defense on whether HB 18 passes strict scrutiny

as a whole. (See Resp., Dkt. 18, at 25–28). Instead, Paxton goes “provision-by-provision,” arguing

that some restrictions pass scrutiny and that even if others fail First Amendment scrutiny, they can

be severed and do not mean the entire law is unconstitutional.

        Here, the Court agrees with Paxton. Even if HB 18 is a content-based regulation, it does not

follow as a matter of course that the law is facially invalid. In the First Amendment context, facial

challenges can only succeed if litigants show that “a substantial number of [the law’s] applications

are unconstitutional, judged in relation to the statute’s plainly legitimate sweep.” Ams. for Prosperity

Found. v. Bonta, 594 U.S. 595, 615 (2021). So a law regulating First Amendment activity may only be

struck down in its entirety if its “unconstitutional applications substantially outweigh its

constitutional ones.” Moody, 144 S. Ct. at 2397.

        Moody, including the majority opinion and all four concurrences, emphasized that courts

should not treat facial challenges lightly, even in the First Amendment context. It clarified that

courts should “address the full range of activities the laws cover, and measure the constitutional

against the unconstitutional applications.” Id. at 2397–98. That analysis requires a two-step process.

First, courts must “assess the state law’s scope” and ask, “What activities, by what actors, do the

laws prohibit or otherwise regulate?” Id. at 2398. Second, a court must “decide which of the laws’

applications violate the First Amendment, and to measure them against the rest.” Id. Only after




                                                    22
         Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 23 of 38



making these inquiries can a court determine if a law’s “unconstitutional applications substantially

outweigh its constitutional ones.” Id. at 2397.

        It is a mistake to treat HB 18 as a whole and assume that because the law draws a threshold

content-based distinction, it fails entirely under strict scrutiny. Per Moody, the Court must instead go

through each provision and examine its respective permissibility under the First Amendment.

                  a. The Data Privacy, Parental Control, and Disclosure Provisions

        The Court first “assess[es] the state law’s scope.” Moody, 144 S. Ct. at 2398. While Plaintiffs

focus their challenge on the monitoring-and-filtering requirements, HB 18 imposes various other

requirements. (See Mot. Prelim. Inj., Dkt. 6). These other provisions, while subject to strict scrutiny,

are largely unrelated to First Amendment expression. Section 509.052 prohibits covered DSPs from

collecting unnecessary amounts of known minors’ PII or geolocation data, allowing minors to make

financial transactions through the DSP, sharing minors’ PII, and targeting advertising to minors. HB

18 § 509.052. Another section requires covered DSPs to allow parents to control a minor’s privacy

settings and limit the amount of time a minor spends on the DSP. Id. § 509.054. Covered DSPs

must also disclose an overview of their algorithms for providing content; promoting, ranking, and

filtering content; and the PII used to provide content. Id. § 509.056.

        Moody’s next step is to “decide which of the laws’ applications violate the First Amendment,

and to measure them against the rest.” 144 S. Ct. at 2398. However, in their briefing, Plaintiffs do

not clearly do so. It is Plaintiffs’ burden to show that the law is unconstitutional in these respects.

Indeed, for a preliminary injunction, Plaintiffs must make a “clear showing” that they are entitled to

the relief they seek. Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (citing 11A C. Wright, A. Miller,

& M. Kane, Federal Practice and Procedure § 2948, pp. 129–130 (2d ed. 1995)). That clear showing

requires more than the law as whole to be “presumptively unconstitutional.” Reed, 576 U.S. at 163.




                                                    23
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 24 of 38



        It remains possible that each provision will fail under strict scrutiny. But that is not a given.

And it is not certain to be the case under HB 18, where many provisions seem to regulate conduct

and only incidentally burden speech (if at all). See Moody, 144 S. Ct. at 2402 n.4. Plaintiffs do not

show how Section 509.052 places any burden on speech by prohibiting the collection of PII and

geolocation data. This is primarily a regulation of conduct, so it is not clear that the law restricts or

even burdens speech. Similarly, it is not clear that a law requiring parents to be allowed to access and

change their children’s privacy settings implicates First Amendment concerns. Overall, these

provisions likely primarily regulate conduct, and while the Court can conceive of ways in which they

do burden speech (e.g., reducing the hours a child may spend consuming speech on social media),

that point is not sufficiently developed at this stage.

        In sum, Plaintiffs fail to make a “clear showing” that these provisions are unconstitutional.

Those provisions, then, do not need to be enjoined, because it is not clear that, taken as a whole, “a

substantial number of [those provisions’] applications are unconstitutional . . . .” Ams. for Prosperity

Found., 594 U.S. at 615.11

                              b. The Monitoring-and-Filtering Requirements

        While the preceding sections of HB 18 may be constitutional, the same cannot be said for

the monitoring-and-filtering requirements. These requirements force providers to develop strategies

to “prevent [a] known minor’s exposure to harmful material and other content that promotes,

glorifies, or facilitates: (1) suicide, self-harm, or eating disorders; (2) substance abuse; (3) stalking,

bullying, or harassment; or (4) grooming, trafficking, child pornography, or other sexual exploitation

or abuse.” HB 18 § 509.053. Irrespective of whether HB 18 as a whole is content-based, there can

be little dispute that this provision is. The monitoring-and-filtering requirements explicitly identify



11 In addition, as Paxton notes, the remaining provisions are potentially severable, as the law does not

necessarily operate as an indivisible whole.

                                                       24
              Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 25 of 38



discrete categories of speech and single them out to be filtered and blocked. That is as content based

as it gets.

         It is far from clear that Texas has a compelling interest in preventing minors’ access to every

single category of information listed above. Some interests are obvious—no reasonable person

could dispute that the state has a compelling interest in preventing minors from accessing

information that facilitates child pornography or sexual abuse. See Sable Commc’ns of California, Inc. v.

FCC, 492 U.S. 115, 126 (1989) (“[T]here is a compelling interest in protecting the physical and

psychological well-being of minors.”). On the other end, many interests are not compelling, such as

regulating content that might advocate for the deregulation of drugs (potentially “promoting”

“substance abuse”) or defending the morality of physician-assisted suicide (likely “promoting”

“suicide”). See Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 794–95 (2011) (“No doubt a State

possesses legitimate power to protect children from harm, but that does not include a free-floating

power to restrict the ideas to which children may be exposed.”) (internal citation omitted). The

Supreme Court has repeatedly emphasized that “[s]peech that is neither obscene as to youths nor

subject to some other legitimate proscription cannot be suppressed solely to protect the young from

ideas or images that a legislative body thinks unsuitable for them.” Erznoznik v. Jacksonville, 422 U.S.

205, 213–13 (1975). Much of the regulated topics are simply too vague to even tell if it is compelling.

Terms like “promoting,” “glorifying,” “substance abuse,” “harassment,” and “grooming” are

undefined, despite their potential wide breadth and politically charged nature. While these

regulations may have some compelling applications, the categories are so exceedingly overbroad that

such a showing is unlikely.

         Even accepting that Texas has a compelling interest in blocking select categories under HB

18, the law is not narrowly tailored. HB 18 requires DSPs to implement strategies that include:

listing harmful material, using filtering technology, using hash-sharing technology to identify


                                                    25
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 26 of 38



recurring material, creating a database of keywords used for filter evasion, performing human-

monitoring reviews to ensure the filtering technology works, publishing descriptions of the filtered

content, and making the code available to independent researchers. HB 18 § 509.053(b)(1). This

broad, multi-faceted approach fails for two reasons: it does not employ the least restrictive means,

and it is not narrowly tailored.

        As in Fitch, Paxton “has not shown that the alternative suggested by [Plaintiffs], a regime of

providing parents additional information or mechanisms needed to engage in active supervision over

children’s internet access would be insufficient to secure the State’s objective of protecting

children.” 2024 WL 3276409, at *12. By contrast, Plaintiffs have demonstrated that many DSPs do

implement content-moderation policies to ensure that minors cannot access harmful content. (Mot.

Prelim. Inj., Dkt. 6, at 22). And Paxton has not shown that methods such as “hash-sharing

technology” and publishing depictions of filtered content are necessary to prevent harm to minors.

In short, HB 18 does not employ “the least restrictive means” to stop minors from accessing

harmful material. See United States v. Playboy Ent. Grp., 529 U.S. 803, 813 (2000).

        HB 18 also employs overbroad terminology. Again, the monitoring-and-filtering

requirements impose sweeping ex-ante speech restrictions, akin to prior restraints,12 but does little

more than vaguely gesture at what speech must be restrained. For example, what does it mean for

content to “promote” “grooming?” The law is not clear. So, by requiring filtering as a matter of law




12 Separate from their other arguments, Plaintiffs argue that the monitoring-and-filtering provisions are

unconstitutional because they impose a prior restraint. (Mot. Prelim. Inj., Dkt. 6, at 18). Paxton responds that
prior restraints must typically come from “administrative and judicial orders,” so HB 18 does not qualify.
(Resp., Dkt. 18, at 44). Finding the provisions invalid under strict scrutiny (as well as vague and preempted),
the Court does not decide the issue. There can be little question, though, that the monitoring-and-filtering
provisions require DSPs to affirmatively seek out and block certain categories of speech, raising the same
overbreadth concerns as with prior restraints. See FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012)
(“[L]aws which regulate persons or entities must give fair notice of conduct that is forbidden or required.”).

                                                       26
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 27 of 38



with only vague reference to what must be filtered, HB 18 will likely filter out far more material than

needed to achieve Texas’s goal.

        More problematically, the law is underinclusive. A law that “is wildly underinclusive when

judged against its asserted justification . . . is alone enough to defeat it.” Brown, 564 U.S. at 802.

Websites that “primarily” produce their own content are exempted, even if they host the same

explicitly harmful content such as “promoting” “eating disorders” or “facilitating” “self-harm.” The

most serious problem with HB 18’s under-inclusivity is it threatens to censor social discussions of

controversial topics. “[S]ocial media in particular” operates as one of “most important places . . . for

the exchange of views . . . .” Packingham, 582 U.S. at 104. But HB 18 specifically cuts teenagers off

from this critical “democratic forum[] of the Internet” even though the same harmful content is

available elsewhere. Reno v. ACLU, 521 U.S. 844, 868 (1997). A teenager can read Peter Singer

advocate for physician-assisted suicide in Practical Ethics on Google Books but cannot watch his

lectures on YouTube or potentially even review the same book on Goodreads. In its attempt to

block children from accessing harmful content, Texas also prohibits minors from participating in the

democratic exchange of views online. Even accepting that Texas only wishes to prohibit the most

harmful pieces of content, a state cannot pick and choose which categories of protected speech it

wishes to block teenagers from discussing online. Brown, 564 U.S. at 794–95.

        Of course, Moody’s instruction on facial challenges still applies: the Court must analyze what

each provision of the monitoring-and-filtering requirements does and individually assess those

provisions’ constitutionality. Here, however, the strict scrutiny test parallels the facial challenge

framework. See United States v. Edge Broad. Co., 509 U.S. 418, 430 (1993) (“[T]he validity of [a]

regulation depends on the relation it bears to the overall problem the government seeks to correct,

not on the extent to which it furthers the government’s interest in an individual case.”); NetChoice,

LLC v. Bonta, No. 23-2969, 2024 WL 3838423, at *8 (9th Cir. Aug. 16, 2024) (slip op.) (affirming


                                                     27
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 28 of 38



facial challenge where strict scrutiny regulation “raises the same First Amendment issues” “in every

application to a covered business”); United States v. Stevens, 559 U.S. 460, 473 n.3 (2010) (noting that

overbroad law was facially invalid).

        The monitoring-and-filtering provisions are more restrictive and less tailored than they need

to be at the outset. The provisions’ facial under-inclusivity cannot be cured by identifying examples

of HB 18’s constitutional applications—the point is that HB 18 does not regulate the same harmful

content elsewhere. The lack of narrow tailoring and use of overly restrictive means apply to all

speech regulated under the provision and “raises the same First Amendment issues.” NetChoice, LLC

v. Bonta, 2024 WL 3838423, at *8. Nor are the monitoring-and-filtering requirements like the laws at

issue in Moody, where some provisions might restrict protected speech and others do not. 144 S. Ct.

at 2398. Instead, the monitoring-and-filtering requirements exclusively target speech, only a small

portion of which falls outside First Amendment coverage.13 Because the monitoring-and-filtering

requirements are overbroad, overly restrictive, and underinclusive, they are properly enjoined on

their face.14

                                              D. Vagueness

        In the alternative to their First Amendment challenge, Plaintiffs argue that HB 18’s

definition for covered DSPs and its monitoring-and-filtering requirements are void for vagueness.

(Mot. Prelim. Inj., Dkt. 6, at 24–25). As a reminder, HB 18 covers DSPs that “allow[] users to socially

interact with other users” but exempts DSPs that “primarily function[] to provider a user with access



13 For example, child pornography generally does not receive First Amendment protection. See New York v.

Ferber, 458 U.S. 747, 765 (1982). But the large majority of the proscribed content, such as speech promoting
eating disorders, harassment, and bullying, is covered speech, even if highly distasteful. A state may not
“create a wholly new category of content-based regulation that is permissible only for speech directed at
children.” Brown, 564 U.S. at 794.
14 The preliminary injunction shall also apply to Section 509.056(1), which requires DSPs to “make a

commercially reasonable effort to ensure that [their] algorithm does not interfere with the digital service
provider’s duties under” the monitoring-and-filtering requirements.

                                                     28
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 29 of 38



to news, sports, commerce, or content primarily generated or selected by the DSP . . . .” HB 18 §§

509.002(a), (b)(10)(A). Plaintiffs take issue with the terms “socially interact” and “primarily

functions” as they define covered DSPs. (Id. at 17).15 And as to the monitoring-and-filtering

requirements, Plaintiffs take issue with the terms “promotes,” “glorifies,” and “facilitates,” as well as

the categories of proscribed topics. (Id. at 24–25).

        “A fundamental principle in our legal system is that laws which regulate persons or entities

must give fair notice of conduct that is forbidden or required.” FCC v. Fox Television Stations, Inc., 567

U.S. 239, 253 (2012). “A law is unconstitutionally vague if it (1) fails to provide those targeted by the

statute a reasonable opportunity to know what conduct is prohibited, or (2) is so indefinite that it

allows arbitrary and discriminatory enforcement.” McClelland v. Katy Indep. Sch. Dist., 63 F.4th 996,

1013 (5th Cir.), cert. denied 144 S. Ct. 348 (2023). “A regulation is void for vagueness when it is so

unclear that people ‘of common intelligence must necessarily guess at its meaning and differ as to its

application.’” Id. (quoting Connally v. Gen. Constr. Co., 269 U.S. 385, 391 (1926)). The degree of

vagueness that the Constitution tolerates—as well as the relative importance of fair notice and fair

enforcement—depends in part on the nature of the enactment.” Vill. of Hoffman Ests. v. Flipside,

Hoffman Ests., Inc., 455 U.S. 489, 498 (1982). The Supreme Court has “expressed greater tolerance of

enactments with civil rather than criminal penalties because the consequences of imprecision are

qualitatively less severe.” Id. at 498–99. However, if “the law interferes with the right of free speech

or association, a more stringent vagueness test should apply.” Id. at 499.




15 Plaintiffs also argue that the law is vague because it exempts services that only have “incidental” social

functions but does not define “incidental.” (Mot. Prelim. Inj., Dkt. 6, at 17). Plaintiffs do not allege, however,
that any members are genuinely on the threshold where this ambiguity might come into effect. And such
terminology has been upheld by a previous Supreme Court decision. McGowan v. State of Md., 366 U.S. 420,
428–29 (1961).

                                                        29
         Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 30 of 38



                                   1. The Covered Entity Definitions

        Starting with the covered entity definitions, the Court is not convinced that the terms are so

vague as to render the entire law unconstitutional. Plaintiffs note that “it is unclear what test one

uses to determine how a digital service ‘primarily’ functions.” (Mot. Prelim. Inj., Dkt. 6, at 17 (citing

Fitch, 2024 WL 3276409, at *15)). That argument is a stretch. “Primary” has a fairly ascertainable

meaning: “for the most part” or “in the first place.” Primarily, Webster’s New World Dictionary (4th

ed. 2013). When HB 18 exempts DSPs that “primarily function[] to provide a user with access to

news, sports, commerce,” it likely targets DSPs whose main function is one of those categories.

Turning to the word “socially,” the Court also finds it is sufficiently definite to survive a preliminary

injunction motion. The term is cabined within the definition of a DSP that “connects users in a

manner that allows users to socially interact with other users on the digital service[.]” HB 18 §

509.002(1). Other regulations include allowing a user to create a public or semi-public profile or post

content viewed by others. Id. §§ 509.002(2)–(3). Given the ample context surrounding the type of

DSP covered, the term “socially interact” is capable of a limited common-sense meaning. See United

States v. Comer, 5 F.4th 535, 542 (4th Cir. 2021) (denying vagueness challenge to law that targeted

social networking).

        Tellingly, there seems to be little (or no) actual confusion about whether Plaintiffs’ members

are covered under these allegedly vague terms. Facebook, Snapchat, X, and YouTube all appear to

readily meet the statute’s definition because they “primarily” offer “social interactions.” It remains

possible that the laws are vague, and some providers, especially smaller DSPs, do not know whether

they are covered. But such challenges would be more appropriate on an as-applied basis or after a

genuine showing that a party does not know whether the law applies to them. See United States v.

Wurzbach, 280 U.S. 396, (1930) (“[I]f there is any difficulty, which we are far from intimating, it will

be time enough to consider it when raised by someone whom it concerns.”) (Holmes, J.). As it is,


                                                   30
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 31 of 38



the covered entity definition “is not unconstitutionally vague” solely because it “engender[s] some

limited amount of confusion . . . .” United States v. Clinical Leasing Serv., Inc., 925 F.2d 120, 123 (5th

Cir. 1991).

                               2. The Monitoring-and-Filtering Provisions

        The same cannot be said for the terminology used in HB 18’s monitoring-and-filtering

provisions. Again, those provisions require social media DSPs to track, filter, and block material that

“promotes,” “glorifies,” or “facilitates” “suicide, self-harm,[] eating disorders[,] substance abuse[,]

stalking, bullying, [] harassment[,] grooming, trafficking, child pornography,[] other sexual

exploitation or abuse” and material that is sexually explicit for minors. HB 18 § 509.053. Those

provisions are vague because both the verbs (promotes, glorifies, and facilitates) and the objects of

those verbs (e.g., stalking, bullying, substance abuse, and grooming) are broad and undefined.

Especially when put together, the provisions are unconstitutionally vague.

        Begin with the verbs: promote, glorify, and facilitate. One of those words—“promote”—has

already been held to be vague when regulating First Amendment activity. In Baggett v. Bullitt, 377 U.S.

360, 371–72 (1964), the Supreme Court dealt with a regulation that imposed a loyalty oath for

teachers to swear that they will “promote respect for the flag and the institutions of the United

States.” (emphasis added). The Supreme Court found that the term “promote” was “very wide

indeed” and failed to “provide[] an ascertainable standard of conduct.” Id. In response, Paxton

suggests that Baggett dealt with a “‘wildly different situation’ than this one.” (Resp., Dkt. 18, at 38).

But, if anything, the vagueness is more problematic under HB 18, because the law requires social

media DSPs to guess which broad categories of speech, likely constituting billions of posts, must be

filtered from view. So the wide-ranging meanings of “promote” will result in wide-ranging

censorship of speech.




                                                     31
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 32 of 38



        The problem is even more acute with the term “glorifying.” The word encompasses so wide

an ambit that people “of common intelligence” can do no more than guess at its application.

McClelland, 63 F.4th at 1013. To “glorify” potentially includes any content that favorably depicts a

prohibited topic, leaving no clear answer on what content must be filtered. Do liquor and beer

advertisements “glorify” “substance abuse?” Does Othello “glorify” “suicide?” Given the substantial

liability companies face for failing to comply (to say nothing of the private rights of action), it is

reasonable to expect that companies will adopt broad definitions that do encompass such plainly

protected speech.

        In sum, HB 18 imposes requirements for entire categories of speech to be blocked. If those

ex-ante restrictions are to be imposed, they cannot arguably cover such broad categories of protected

speech. Grayned v. City of Rockford, 408 U.S. 104, 109 (1972) (“[W]here a vague statute abuts upon

sensitive areas of basic First Amendment freedoms, it operates to inhibit the exercise of (those)

freedoms. Uncertain meanings inevitably lead citizens to steer far wider of the unlawful zone than if

the boundaries of the forbidden areas were clearly marked.”) (cleaned up).16

        Paxton suggests that these terms, especially “facilitate,” can be limited to speech that helps

bring about an unlawful act, is intended to induce illegal activities, or provides assistance to a

wrongdoer. (Resp., Dkt. 18, at 23–24 (quoting Williams, 553 U.S. at 290, then quoting United States v.

Hansen, 599 U.S. 762, 770–73 (2023))). In other words, Paxton suggests that the terms can be limited

to “speech integral to unlawful conduct.” Id. But if the state had intended to proscribe only speech

“integral to unlawful conduct,” it could have explicitly stated so. Instead, the state used three terms:

“promote, glorify, and facilitate,” giving a broader context than criminal assistance. “Glorify” and


16 Paxton contends that the monitoring-and-filtering provisions are not vague to Plaintiffs because they come

“directly from their own content-moderation policies.” (Resp., Dkt. 18, at 12 (emphasis omitted)). But a self-
policed rule does not suffer the same vagueness problems as a state-backed proscription. Facebook may
know their internal definition of “glorify” but the company cannot be assured that Paxton or Texas courts
will abide by the same definition.

                                                      32
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 33 of 38



“promote” taint the understanding of “facilitate” beyond direct criminal advocacy. And there are

good reasons to believe the state deliberately sought a broader definition, because HB 18 also

proscribes speech related to lawful conduct, such as having an eating disorder. Paxton’s own

introduction shows that many of social media’s most deleterious effects comes from the incessant,

favorable depiction of certain content, rather than its direct advocacy. (See Resp., Dkt. 18, at 13–16).

As a result, HB 18 is not “readily susceptible” to the “narrowing construction” that Paxton suggests.

Am. Booksellers, 484 U.S. at 397 (“[T]he statute must be readily susceptible to the limitation; we will

not rewrite a state law to conform it to constitutional requirements.”) (internal quotation omitted).

        The final issue for HB 18 is that the law fails to define key categories of prohibited topics,

including “grooming,” “harassment,” and “substance abuse.” At what point, for example, does

alcohol use become “substance abuse?” When does an extreme diet cross the line into an “eating

disorder?” What defines “grooming” and “harassment?” Under these indefinite meanings, it is easy

to see how an attorney general could arbitrarily discriminate in his enforcement of the law. See Smith

v. Goguen, 415 U.S. 566, 575 (“Statutory language of such a standardless sweep allows [] prosecutors[]

and juries to pursue their personal predilections.”). These fears are not too distant—pro-LGBTQ

content might be especially targeted for “grooming.” See Little v. Llano Cnty., No. 1:22-CV-424-RP,

2023 WL 2731089, at *2 (W.D. Tex. Mar. 30, 2023) (finding that several books supporting pro-

LGBTQ views were removed from library shelves for allegedly promoting “grooming”), aff’d as

modified, 103 F.4th 1140 (5th Cir. 2024), reh’g en banc granted, opinion vacated, 106 F.4th 426 (5th Cir.

2024). Content related to marijuana use might be prosecuted as “glorifying” “substance abuse,” even

if cigarette and alcohol use is not. This vast indefinite scope of enforcement would “effectively

grant[] [the State] the discretion to [assign liability] selectively on the basis of the content of the

speech.” City of Houston, Tex. v. Hill, 482 U.S. 451, 465 n.15 (1987). Such a sweeping grant of

censorial power cannot pass First Amendment scrutiny.


                                                     33
            Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 34 of 38



                                      E. Section 230 Preemption

        Finally, Plaintiffs seek a preliminary injunction against the “monitoring-and-filtering”

requirements by arguing that they are preempted by Section 230. Section 230 states that “[n]o

interactive computer service shall be treated as the publisher or speaker of any information provided

by” someone else. 47 U.S.C. § 230(c)(1). Under Section 230, Congress provided all DSPs “broad

immunity” for “all claims stemming from their publication of information created by third parties.”

Free Speech Coal., Inc. v. Paxton, 95 F.4th 263, 286 (5th Cir. 2024) (cleaned up), cert. granted 2024 WL

3259690 (Mem.) (U.S. July 2, 2024). That includes purported “failure[s] to implement basic safety

measures to protect minors.” Doe v. MySpace, Inc., 528 F.3d 413, 418–19 (5th Cir. 2008). By

preempting “inconsistent” laws, 47 U.S.C. § 230(e)(3), Congress barred regulation of websites’

“decisions relating to the monitoring, screening, and deletion of content[.]” Id. at 420 (citation

omitted).

        HB 18 requires DSPs to “implement a strategy to prevent [a] known minor’s exposure to”

certain third-party content. HB 18 § 509.053(a). That requirement impermissibly forces covered

DSPs to “address certain harmful content” on their services. MySpace, 528 F.3d at 420 (quoting Green

v. Am. Online (AOL), 318 F.3d 465, 471 (3d Cir. 2003)). Similarly, HB 18 requires DSPs to monitor

and filter certain categories of content. HB 18 § 509.053. But Section 230 “specifically proscribes

liability” for “decisions relating to the monitoring, screening, and deletion of content.” Id.; La’Tiejira

v. Facebook, Inc., 272 F. Supp. 3d 981, 993 (S.D. Tex. 2017) (“Thus ‘any activity that can be boiled

down to deciding whether to exclude material that third parties seek to post online is perforce

immune under section 230.’” (quoting Fair Hous. Council of San Fernando Valley v. Roommates.com, LLC,

521 F.3d 1157, 1170 (9th Cir. 2009)). “[T]hat is the point of Section 230: to immunize [websites] for

harm caused by unremoved speech.” Free Speech Coal., 95 F.4th at 284–85.




                                                    34
         Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 35 of 38



        Paxton, in response, relies on the Fifth Circuit’s recent decision in Free Speech Coalition.

(Resp., Dkt. 18, at 43 (citing Free Speech Coal. 95 F4th at 284)). In that case, a group of websites

hosting adult videos sued to enjoin a Texas law, HB 1181, that required the websites to implement

age verification measures to screen out minors. Id. at 267. The Fifth Circuit determined that HB

1181 was “not reliant on the harm done by third-party content” because the law “impose[d] liability

purely based on whether plaintiffs comply with the statute, independently of whether the third-party

speech that plaintiffs host harms anybody.” Id. at 298. Here, Paxton draws a similar analogy, arguing

that HB 18 imposes liability only for failing to comply with the statute, not for hosting content.

        HB 18’s monitoring and filtering requirements, unlike HB 1181, do impose liability based on

the type of content that a website hosts. A website only filters out content that falls into certain

categories of prohibited speech (e.g., “glorifying” an “eating disorder” and “promoting” “substance

abuse”). The monitoring-and-filtering requirements necessarily derive their liability from the type of

content a site displays. HB 18 § 509.151–152.

        Imagine that Texas passed a law stating, “Social media websites must remove defamatory

content.” Under Paxton’s broad reading of Free Speech Coalition, the law would not be preempted

because liability attaches based on whether a website complies with the law, not based on its

content. That reasoning would altogether nullify Section 230 by having the same effect as directly

imposing liability on the website for hosting third-party content. Section 230 provides “broad

immunity” for providers for “all claims stemming from their publication of information created by

third parties.” MySpace, 528 F.3d at 418 (emphasis added). Liability under HB 18 stems from the

content it hosts, even if liability directly attaches based on compliance with the law. Accordingly, the

Court finds that Section 230 preempts HB 18’s monitoring and filtering requirements.




                                                    35
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 36 of 38



                           F. Remaining Preliminary Injunction Factors

         Paxton does not seriously contest the remining preliminary injunction factors. (Resp., Dkt.

18, at 45). He notes that Plaintiffs waited more than a year to bring suit, cutting against their

argument for irreparable harm. (Id.). Lengthy delays in filing suit do count against irreparable harm,

especially in the context of a temporary restraining order (“TRO”). See Luckenbach Texas, Inc. v. Skloss,

No. 1:21-CV-871-RP, 2022 WL 5568437, at *4–5 (W.D. Tex. July 8, 2022); Embarcadero Techs., Inc. v.

Redgate Software, Inc., No. 1:17-CV-444-RP, 2017 WL 5588190, at *3 (W.D. Tex. Nov. 20, 2017). That

doctrine is less applicable here, where the law created a 14-month gap between enactment and taking

effect. While the Court would have appreciated more time to decide these complex issues, Plaintiffs’

delay does not automatically negate a finding of irreparable harm.

        Setting aside their delay, Plaintiffs make a clear showing that they will suffer irreparable

injury in the absence of an injunction. “The loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury.” Roman Cath. Diocese of Brooklyn v.

Cuomo, 592 U.S. 14, 19 (2020) (citation omitted). HB 18 will also impose nonrecoverable compliance

costs, adding to Plaintiffs’ irreparable harm. Rest. L. Ctr. v. U.S. Dept. of Lab., 66 F.4th 593, 597 (5th

Cir. 2023) (“Under our precedent, the nonrecoverable costs of complying with a putatively invalid

regulation typically constitute irreparable harm.”); Wages & White Lion Invs., L.L.C. v. United States

Food & Drug Admin., 16 F.4th 1130, 1142 (5th Cir. 2021) (noting that sovereign immunity would bar

the recovery of compliance costs). Declarations submitted by Plaintiffs highlight that many DSPs

will be forced to substantially revamp their existing filtering software or develop it anew. (Mot.

Prelim. Inj., Dkt. 6, at 27 (citing declarations)). Those compliance costs are greater because, as the

Court has noted, Plaintiffs’ members have no guidance on how to determine if content falls under

HB 18’s broad regulations. (Veitch Decl., Dkt. 6-4, at 19 (noting that HB 18 “will require alterations

to YouTube’s content moderation—not because YouTube’s content moderation is currently


                                                    36
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 37 of 38



deficient, but because of uncertainty of how the Texas Attorney General will interpret the Act.”)).

For small DSPs that do not qualify as exempt small businesses, the content filtering requirements

will be “prohibitive for a sole proprietor . . . to implement” leading to the DSPs potentially “shutting

down [] rather than shoulder the[] compliance costs or run the risk of potential liability.” (Riley

Decl., Dkt. 6-6, at 5–6). In sum, Plaintiffs have shown irreparable harm.

        The balance of equities and public interest follow likelihood of success. These last two

factors merge when the government is the opposing party. Nken v. Holder, 556 U.S. 418, 435 (2009).

“[I]njunctions protecting First Amendment freedoms are always in the public interest.” Texans for

Free Enter. v. Texas Ethics Comm’n, 732 F.3d 535, 539 (5th Cir. 2013). Because the Court has found

that Plaintiffs have shown a substantial likelihood of success on the merits of their First Amendment

claims, the Court finds that an injunction is in the public interest. See id.; see also, e.g., Book People, Inc.,

91 F.4th at 341 (“Because Plaintiffs are likely to succeed on the merits of their First Amendment

claim, the State and the public won’t be injured by an injunction of a statute that likely violates the

First Amendment.”).

                                            IV. CONCLUSION

        Plaintiffs have shown that HB 18 is a content-based statute and is therefore subject to strict

scrutiny. As to the monitoring-and-filtering requirements, HB 18 § 509.053, Plaintiffs have carried

their burden in showing that the law’s restrictions on speech fail strict scrutiny, are

unconstitutionally vague, and are preempted by Section 230. Because Plaintiffs also show that the

remaining equitable factors weigh in their favor, the Court preliminarily enjoins Paxton from

enforcing the monitoring-and-filtering provisions.

        However, Plaintiffs do not show that the remaining provisions of HB 18 unconstitutionally

regulate a meaningful amount of constitutionally protected speech or otherwise fail strict scrutiny.




                                                       37
          Case 1:24-cv-00849-RP Document 25 Filed 08/30/24 Page 38 of 38



Accordingly, the preliminary injunction is limited only to HB 18’s monitoring-and-filtering

requirements, HB 18 §§ 509.053, 509.056(1).17

        IT IS THEREFORE ORDERED that Plaintiffs’ Motion for a Preliminary Injunction,

(Dkt. 6), is GRANTED IN PART as set forth in this order. Plaintiffs’ request in the alternative for

a temporary restraining order is DISMISSED AS MOOT. Paxton’s Motion for Leave to File a

Surreply, (Dkt. 23), is DENIED.

        IT IS FURTHER ORDERED that Paxton, his agents, employees, and persons working

under his direction or control are PRELIMINARILY ENJOINED from enforcing the

“monitoring-and-filtering” requirements, HB 18 §§ 509.053, 509.056(1), against Plaintiffs and their

members pending a final judgment in this case or other modification of this order.


        SIGNED on August 30, 2024.

                                                  _____________________________________
                                                  ROBERT PITMAN
                                                  UNITED STATES DISTRICT JUDGE




17 Plaintiffs are not required to post a security bond. See Fitch, 2024 WL 3276409, at *17.


                                                       38
